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 1   HEATHER E. WILLIAMS, #122664
     Federal Defender
 2   DOUGLAS J. BEEVERS, #288639
     Assistant Federal Defender
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     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   CHRISTOPHER JACKSON
 7
 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )   NO. 2:11-cr-0054-TLN
                                                     )
12                         Plaintiff,                )
                                                     )   STIPULATION AND ORDER TO MODIFY
13          v.                                       )   RELEASE CONDITIONS
                                                     )   (to change surety)
14   CHRISTOPHER JACKSON,                            )
                                                     )   Date: N/A
15                         Defendants.               )   Time: N/A
                                                     )   Judge: Hon. Carolyn K. Delaney
16   _______________________________                 )
17          CHRISTOPHER JACKSON, by and through his attorney, DOUGLAS BEEVERS, Assistant Federal
18   Defender, and the United States by Assistant Attorney Matthew Segal stipulate that the release conditions in
19   the above caption case be modified to permit change in sureties.
20          Mr. Jackson was released originally on November 15, 2010 by the Honorable Gregory H. Hollows,
21   over the Government’s objection to the third party custody of his sister Yvette Glover without any bond
22   condition for two days. On November 17, 2010, Judge Hollows released Mr. Jackson (without Government
23   objection) on $100,000 bond which was secured by $50,000 in real estate equity by his parents and an
24   unsecured bond of $50,000 co-signed by Mr. Jackson’s sister Yvette Glover and Wendy Rose. The parties
25   request that Ms. Glover be relieved from the bond condition and responsibilities and that Mr. Jackson move
26   out of her property. Mr. Jackson’s parents and Wendy Rose have agreed to sign larger bond to make up the
27   difference. Wendy Rose is the mother of Mr. Jackson’s child, and she is employed by the state of California.
28   Mr. Jackson’s parents own a home in Sacramento and a lien for the $50,000 in equity has been posted.
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 1   According to zillow, the home still has sufficient equity to cover the $50,000 bond. Ms. Rose is employed.
 2           The parties request that the release conditions be modified to allow release on condition that Wendy
 3   Rose sign an unsecured bond of $50,000, and that Mr. Jackson’s release conditions be modified to order that
 4   he change his residence by May 10, 2013 at 9:00 a.m. All other conditions are to remain in effect.
 5   Dated: May 8, 2013                                    Respectfully submitted,
 6                                                         HEATHER E. WILLIAMS
                                                           Federal Defender
 7
                                                           /s/ Douglas Beevers
 8                                                         DOUGLAS BEEVERS
                                                           Assistant Federal Defender
 9                                                         Attorney for Defendant
                                                           CHRISTOPHER JACKSON
10
11   Dated: May 8, 2013                                    BENJAMIN B. WAGNER
                                                           United States Attorney
12
                                                           /s/ Matthew Segal
13                                                         MATTHEW SEGAL
                                                           Assistant U.S. Attorney
14
                                                        Order
15
             The matter coming before the Court on the stipulation of the parties to modify the conditions of
16
     release, and it appearing that the proposed release conditions are reasonable. It is ordered that the release
17
     conditions for Christopher Jackson are modified to allow release subject to the original conditions with the
18
     following modifications.
19
     1.      Wendy Rose to sign as unsecured surety for $50,000;
20
     2.      Yvette Glover will be released as surety as soon as the unsecured bond signed by Wendy Rose is filed
21
             with the Court; and
22
     3.      Christopher Jackson is ordered to change his residence to an address approved by his probation officer
23
             by May 10, 2013 at 9:00 a.m.
24
25    Dated: May 9, 2013

26                                                             _____________________________________
                                                               CAROLYN K. DELANEY
27                                                             UNITED STATES MAGISTRATE JUDGE

28   Motion: Modify Release Conditions                     2
